

Matter of Kaylee W. (Rebecca S.) (2017 NY Slip Op 03686)





Matter of Kaylee W. (Rebecca S.)


2017 NY Slip Op 03686


Decided on May 5, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 5, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, NEMOYER, CURRAN, AND TROUTMAN, JJ.


1191 CAF 15-00678

[*1]IN THE MATTER OF KAYLEE W. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; REBECCA S., RESPONDENT-APPELLANT, AND MICHAEL S., RESPONDENT. (APPEAL NO. 2.) 






DAVID J. PAJAK, ALDEN, FOR RESPONDENT-APPELLANT.
LAUREN CREIGHTON, BUFFALO, FOR PETITIONER-RESPONDENT.
AYOKA A. TUCKER, ATTORNEY FOR THE CHILD, BUFFALO.


	Appeal from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered March 6, 2015. The order, among other things, continued the placement of the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Emily W. ([appeal No. 1] ___ AD3d ___ [May 5, 2017]).
Entered: May 5, 2017
Frances E. Cafarell
Clerk of the Court








